                                1 Heather L. Rosing, Bar No. 183986
                                  Earll M. Pott, Bar No. 156516
                                2 Tara R. Burd, Bar No. 276676
                                  KLINEDINST PC
                                3 501 West Broadway, Suite 600
                                  San Diego, California 92101
                                4 (619) 239-8131/FAX (619) 238-8707
                                  hrosing@klinedinstlaw.com
                                5 epott@klinedinstlaw.com
                                  tburd@klinedinstlaw.com
                                6
                                7 Attorneys for George Rikos and the Law
                                  Offices of George Rikos
                                8
                                9
                               10                         UNITED STATES DISTRICT COURT
                               11                     SOUTHERN DISTRICT OF CALIFORNIA
501 WEST BROADWAY, SUITE 600
 SAN DIEGO, CALIFORNIA 92101




                               12
                               13 In re                                         Case No.: '20CV0871 JAH BLM
        KLINEDINST PC




                               14 DOMI Publications, LLC,                       Bankruptcy Case No. 20-10250-btb
                                                                                (Bankr. D. Nev.)
                               15               Debtor.
                                                                                Chapter 7
                               16
                                                                                DOMI PUBLICATIONS, LLC'S
                               17                                               REQUEST FOR JUDICIAL
                                                                                NOTICE IN SUPPORT OF ITS
                               18                                               MOTION TO QUASH OUT OF
                                                                                DISTRICT SUBPOENAS
                               19
                               20                                               Date:        Not yet set
                                                                                Time:        Not yet set
                               21                                               Crtrm.:      Not yet set

                               22
                               23         PLEASE TAKE NOTICE that George Rikos and the Law Offices of George
                               24 Rikos (collectively, "Rikos"), in support of their Motion to Quash Out of District
                               25 Subpoenas hereby submits the following Requests for Judicial Notice.
                               26         This Court may take judicial notice of facts that are not subject to reasonable
                               27 dispute because they can be accurately and readily determined from sources whose
                               28 accuracy cannot reasonably be questioned. Fed. R. Evid. 201. Respondent
                                                                          1
                                      DOMI PUBLICATIONS, LLC'S REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF ITS MOTION TO
                                                             QUASH OUT OF DISTRICT SUBPOENAS
                                1 respectfully requests that this Court take judicial notice, pursuant to Federal Rules of
                                2 Bankruptcy Procedure Rule 9017, and the Federal Rules of Evidence, Rule 201 of
                                3 the following exhibits and facts when considering Rikos's Motion to Quash:
                                4         1.       The existence of San Diego Superior Court case number 37-2016-
                                5 00019027-CU-FR-CTL filed on June 2, 2016.
                                6         2.       The existence of San Diego Superior Court case number 37-2017-
                                7 00033321-CU-FR-CTL.
                                8         3.       The existence of San Diego Superior Court case number 37-2017-
                                9 00043712-CU-FR-CTL.
                               10         4.       The existence of United States District Court, Southern District of
                               11 California, case No. 3:19-cr-04488-JLS-1, known as United States v. Michael J.
501 WEST BROADWAY, SUITE 600
 SAN DIEGO, CALIFORNIA 92101




                               12 Pratt, et. al.
                               13         5.       The existence of case number 20-10250-btb filed by DOMI
        KLINEDINST PC




                               14 Publications, LLC in the United States Bankruptcy Court, District of Nevada.
                               15         6.       That Exhibit D attached hereto is a true and correct copy of the docket
                               16 in case number 20-10250-btb filed by DOMI Publications, LLC in the United States
                               17 Bankruptcy Court, District of Nevada.
                               18         7.       That the docket attached as Exhibit D, in United States Bankruptcy
                               19 Court, District of Nevada, case number 20-10250-btb, reflects that the debtor listed
                               20 $32,278.84 in assets and $12,928,024.12 in liabilities in its petition.
                               21         8.       That the docket attached as Exhibit D, in United States Bankruptcy
                               22 Court, District of Nevada, case number 20-10250-btb, reflects a Motion for
                               23 Abstention filed by the United States Trustee set for hearing on July 28, 2020.
                               24         9.       That the docket attached as Exhibit D, in United States Bankruptcy
                               25 Court, District of Nevada, case number 20-10250-btb, reflects that the Creditor Jane
                               26 Does Nos. 1-22 filed Ex Parte Motions for 2004 Examinations of George Rikos and
                               27 the Law Offices of George Rikos, Domi Publications, LLC, and Douglas
                               28 Wiederhold, which were granted.
                                                                                2
                                      DOMI PUBLICATIONS, LLC'S REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF ITS MOTION TO
                                                             QUASH OUT OF DISTRICT SUBPOENAS
                                1            10.   That Exhibit E attached hereto is a true and correct copy of the Minute
                                2 Order in San Diego Superior Court Case number 37-2016-0019027-CU-FR-CTL,
                                3 wherein the court denied Plaintiff's request to take opposing counsel's deposition.
                                4
                                5                                         KLINEDINST PC
                                6
                                7
                                                                          By:
                                8 DATED: May 8, 2020                                /s/ Earll M. Pott
                                                                                Heather L. Rosing
                                9                                               Earll M. Pott
                               10                                               Tara R. Burd
                                                                                Attorneys for George Rikos and the Law
                               11                                               Offices of George Rikos
501 WEST BROADWAY, SUITE 600
 SAN DIEGO, CALIFORNIA 92101




                               12   18412466.1


                               13
        KLINEDINST PC




                               14
                               15
                               16
                               17
                               18
                               19
                               20
                               21
                               22
                               23
                               24
                               25
                               26
                               27
                               28
                                                                                3
                                        DOMI PUBLICATIONS, LLC'S REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF ITS MOTION TO
                                                               QUASH OUT OF DISTRICT SUBPOENAS
